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                           UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF OKLAHOMA

SAMUEL D. EDWARDS, etal,                       )
                   Plaintiffs,                 )
                                               )   Case No.      CIV 04-96-KEW
                     v.                        )
                                               )   Date          9/23/13
PEPSICO, INC., etal,                           )
                            Defendants.        )   Time:         1:38 pm - 3:24 pm
                                               )                 3:36 pm - 5:03 pm

                                      MINUTE SHEET
                                 EVIDENTIARY HEARING
                       (Re: Motion for Attorney Fees by Holden & Carr)

 Kimberly E. West, Judge          N. Horn, Deputy Clerk       K. McWhorter, Court Reporter
                                                              Courtroom 3



Counsel for Petitioner Holden & Carr: Michael L. Carr and Steven Holden

Counsel for Respondent Capron & Edwards, P.C.: Stephen J. Capron and Michael J. Edwards



MINUTES:

Parties announce ready to proceed. Opening statements by counsel for both parties. Petitioner’s
evidence. ENTERING ORDER: Evidentiary Hearing to continue on 9/24/13 at 9:00 a.m. (KEW)
Court adjourned.




                                                                                             CR-01c (2/06)
